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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                            IJ<.
------------------------------------------------------------X
TRUSTEES OF THE DISTRICT COUNCIL
NO. 9 PAINTING INDUSTRY INSURANCE
FUND, ET AL.,
                      Petitioners,                                        20 CIVIL 4501 (LGS)

                  -against-                                                      JUDGMENT

SAHARA CONSTRUCTION CORP.,
                   Respondent.
----------------------------------------------------------X



          It is hereby   ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Opinion and Order dated October 16, 2020, the Petition is GRANTED.

Petitioners are entitled to a total of $22,464.75, as set forth in the Award, comprising $10,220.50

in unpaid wages, payable to Cespedes, $8,244.25 in benefit contributions, payable to the Trustees'

funds on behalf of Cespedes, and $4,000.00 in liquidated damages, payable to the Joint Trade

Board of the Painting and Decorating Industry. Petitioners are also entitled to post-judgment

interest, calculated at the statutory rate prescribed by 28 U.S.C. § 1961; accordingly, the case is

closed.

Dated: New York, New York
       October 16, 2020

                                                         RUBY J. KRAJICK

                                                              Clerk of Court
                                               BY:
                                                              cf1/VY~
                                                              DeputyClerk
